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    BRENON D. HUDSON AND                  *        12™ JUDICIAL DISTRICT
    AMANDA L. JACOBS                                                  FILE HO
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    VERSUS                                "        PARISH OF AVOYELLES


    MICHAEL DALE GREENE,         '                 STATE OF LOUISIANA
    REDNECK, INC., NATIONAL UNION
    FIRE INSURANCE COMPANY
    OF PITTSBURGH, PA. AND STATE
    FARM MUTUAL AUTOMOBILE
    INSURANCE COMPANY


                                  PETITION FOR DAMAGES




          The petition of BRENON D. HUDSON AND AMANDA L. JACOBS both

    the full age of majority, residents of and domiciled in the Paiish of Avoyelles,

    State of Louisiana, respectfully represents as follows, to-wit:

                                              1.


          Made defendants herein are:


          MICHAEL DALE GREENE, (VIA LONG ARM STATUTE) who may
          be served at 878 Davis Street, Sulphur Springs, Texas 75482;

          REDNECK, INC., (VIA LONG ARM STATUTE), a limited UabiUty
          corporation, licensed and doing business in the State of Texas who
          may be served through its agent for service of process, 1260 S.
          Hilcrest Street, Sulphur Springs, Texas 75483;

          NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH,
          PA., a foreign insurance company licensed to do and/or doing business
          in the State of Louisiana who may be served through its agent for service
          of process, Louisiana Secretary of State, 8585 Archives Avenue, Baton
          Rouge, Louisiana 70809.


          STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY (UM of
          BRENON HUDSON), a foreign insurance company licensed to do and/or
          doing business in the State of Louisiana who may be served through its
          agent for service of process, Louisiana Secretary of State, 8585 Archives
         Avenue, Baton Rouge, Louisiana 70809.

                                              2.


          Defendants are justly and truly indebted unto plaintiff herein,

   individually, jointly, severally and in solido in an amount commensurate with

   the damages occasioned, together with legal interest from the date of this

   demand and for all costs of these proceedings for the following enumerated

   reasons, to-wit:



                                                                                   EXHIBIT


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